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Exhibit “C”

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IN THE MAGISTRATE COURT OF GWINNETT COUNTY

STATE OF GEORGIA
ADAM MIKEL ROSEMAN
|
Plaintiff | CIVIL ACTION
' FILE NO, 16M37691
Vv.

1
I
ALLIED VAN LINES, |
I
I

Defendant.

DEFENDANT ALLIED VAN LINES’
NOTICE OF FILING REMOVAL

TO: Clerk, Magistrate Court of Gwinnett County, State of Georgia.

In compliance with 28 U.S. C. § 1446(d), you are hereby notified of the
filing of a Notice of Removal by Defendant Allied Van Lines, Inc., improperly
named as Allied Van Lines, in the above-styled civil action with the United States
District Court for the Northern District of Georgia, Atlanta Division, a copy of
which is attached hereto as Exhibit “I”.

This 2 day of January, 2017. a oe

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Georgia Bar No. 497779
DAVID L. SCHWARTZ
Georgia Bar No. 406627
For the Firm

Attorneys for Defendant

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Case 1:17-cv-00290-JCF Document1-3 Filed 01/25/17 Page 3 of 4

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CERTIFICATE OF SERVICE

I hereby certify that I have served Defendant Allied Van Lines’ Notice of
Filing Removal on Plaintiff by placing a true and correct copy of this document in
the United States Mail with sufficient postage thereon, and addressed to Plaintiff
at:

Mr. Adam Mikel Roseman
900 Marseilles Drive
Atlanta, GA 30327

This 25” day of January, 2017. a

ait L. AW ARG
Georgia Bar No. 406627
For the Firm

Attorney for Defendant

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Alpharetta, Georgia 30009

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